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EXHIBIT A

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Contract Suitability Adptcdecte

Federal Protective §

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1900 Half Street SW Suite 3356
Washington, DC 20536

202-245-2606

eer US. Immigration
ey) and Customs
« Enforcement

Apr 15, 2008

MEMORANDUM: HARRY MANNING
GENERAL SERVICES ADMINISTRATION
Fairfax VA 22031

FROM: Caspar. William
Personnel Security Specialist
Federal Protective Service Contract Suitability Adjudication Program

SUBIECT GSA Final Suitability Determination Letter - Favorable
NAME: OHENEBA KWAME GYAME]
SSN: XXX-XX-1257

Position: Others (FPSO)

Che Federal Protective Service Contract Suitability Adjudication Program has favorably
adjudicated the above-mentioned individual's investivation.

INVESTIGATION REVIEWED
By the Federal Protective Service Contract Suitability Adjudication Program

The file indicated that the investigation was completed on 04-15-2008. This clearance is valid for five (3) years
from the date of adjudication.

Type of investigation: SSBI BI LEE MBI NACI x NACLC Law Enforcement Checks
